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                                                                                          United States District Court
                                                                                            Southern District of Texas

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                                                                                              March 17, 2021
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